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                          UNITED STATES DISTRICT COURT
                             DISTRICT OF MINNESOTA

________________________________
                                                             Civil No. 12-cv-0472 RHK/JJK
Jesse Ventura, a/k/a James G. Janos,

                            Plaintiff,

vs.                                                       Order Staying
                                                          Execution on Judgment
Taya Kyle, as Executor of the Estate of
Chris Kyle,

                   Defendant.
________________________________

         This matter came before the Court on the parties’ stipulation to an extension of the

automatic stay of execution on the judgment in this case (Doc. 392) under Fed. R. Civ. P.

62(a) through August 29, 2014.

         Based on the parties’ stipulation and the other files, records, and proceedings in

this case,

         IT IS HEREBY ORDERED that the automatic stay of execution on the judgment

in this case imposed by Fed. R. Civ. P. 62(a) shall be extended through August 29, 2014.

         SO ORDERED.


Dated: August _____, 2014                   ____________________________________
                                            JEFFREY J. KEYES
                                            UNITED STATES MAGISTRATE JUDGE




                                         EXHIBIT 1



US.54716705.01
